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         8                            UNITED STATES DISTRICT COURT
         9                           EASTERN DISTRICT OF CALIFORNIA
       10    VIDEO GAMING TECHNOLOGIES, dba     )Case No.: 2:08-CV-01241 JAM-EFB
             VGT, INC., a Tennessee Corporation,)
       11    et al.,                            )
                            Plaintiffs,         )
       12                                       )    RELATED CASE ORDER
                  v.                            )
       13                                       )
             BUREAU OF GAMBLING CONTROL, a law )
       14    enforcement division of the        )
             California Department of Justice, )
       15    et al.,                            )
                            Defendants.         )
       16                                       )
             UNITED CEREBRAL PALSY OF GREATER   )
       17    SACRAMENTO                         )Case No.: 2:09-CV-00555 MCE-JFM
                            Plaintiff,          )
       18                                       )
                  v.                            )
       19                                       )
             VIDEO GAMING TECHNOLOGIES, INC.,   )
       20                                       )
                            Defendant.          )
       21                                       )
       22          Examination of the above-entitled actions reveals that

       23    these actions are related within the meaning of E.D. Cal. Local

       24    Rule 83-123.      Accordingly, the assignment of the matters to the

       25    same judge and magistrate judge is likely to affect a substantial

       26    savings of judicial effort and is also likely to be convenient for

       27    the parties.

       28          The parties should be aware that relating the cases under


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         1   Local Rule 83-123 merely has the result that these actions are

         2   assigned to the same judge and magistrate judge; no consolidation

         3   of the actions is effected.           Under the regular practice of this

         4   court, related case are generally assigned to the judge and

         5   magistrate judge to whom the first filed action was assigned.

         6         IT IS THEREFORE ORDERED that the action denominated CIV. NO.

         7   2:09-CV-00555-MCE-JFM be reassigned to Judge John A. Mendez and

         8   Magistrate Judge Edmund F. Brennan for all further proceedings, and

         9   any dates currently set in this reassigned case only are hereby

       10    VACATED.     Henceforth, the caption on documents filed in the

       11    reassigned case shall be shown as CIV. NO. 2:09-CV-0555-JAM-EFB.

       12          IT IS FURTHER ORDERED that the Clerk of the Court make

       13    appropriate adjustment in the assignment of civil cases to

       14    compensate for this reassignment.

       15

       16    IT IS SO ORDERED.

       17
             Dated: February 27, 2009                     /s/ John A. Mendez__________
       18                                                 JOHN A. MENDEZ
                                                          UNITED STATES DISTRICT JUDGE
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